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June 17, 2019



Honorable Ann M. Donnelly
United States District Court
Eastern District of New York
225 Cadman Plaza East
Courtroom 4GN
Brooklyn, NY 11201


Re:    United States v. Huawei Technologies Co., Ltd., et al., 18 CR 457 (S-2)(AMD);
       Unopposed Request to Adjourn Time to File Motion for Bill of Particulars

Dear Judge Donnelly:

        We represent defendants Huawei Technologies Co., Ltd. and Huawei Device USA Inc.
(collectively, the “Huawei Defendants”) in the above-referenced matter. On behalf of the
Huawei Defendants, we respectfully seek to adjourn the deadline to file a motion for a bill of
particulars so that a new deadline can be set at the status conference currently scheduled for June
19, 2019. The government does not oppose this request.

         Under Rule 7 of the Federal Rules of Criminal Procedure, a defendant “may move for a
bill of particulars before or within 14 days after arraignment or at a later time if the court
permits.” Fed. R. Crim. P. 7(f). By order of March 26, 2019, the Court extended the time to file
a bill of particulars motion until April 11, 2019. At the April 4, 2019 status conference in this
matter, the Court further extended the time to file until June 19, 2019, the date of the next
scheduled status conference.

        On Tuesday, June 11, 2019, the government announced its initial production of discovery
in this matter. The Huawei Defendants received a portion of that production directly from the
government on Wednesday, June 12, 2019, and received the remainder of the production from
the government’s vendor later that week. We understand that the government will be making
subsequent productions and we expect to have further discussions with the government and the
Court regarding forthcoming discovery in this matter, including at the June 19, 2019 status
conference. Because the discovery provided by the government may affect the need for or scope
of any motion for a bill of particulars, the Huawei Defendants respectfully request that the Court
adjourn the deadline for filing a motion for a bill of particulars, and set a new date at the status
conference.
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                                                  Respectfully submitted,


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